Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF WASHINGTON

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                MJW Marketing, Inc.

2.   All other names debtor
     used in the last 8 years     FDBA Big Box Clearance
     Include any assumed          DBA Big Box Outlet Store
     names, trade names and       FDBA MTF USA, Inc.
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  16761 146th Stret SE, Suite 189
                                  Monroe, WA 98272
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Snohomish                                                       Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  See Exhibit A
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.bigboxoutletstore.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                Case 24-11118-TWD                   Doc 1        Filed 05/03/24           Ent. 05/03/24 15:44:58                Pg. 1 of 53
Debtor    MJW Marketing, Inc.                                                                          Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 4599

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                 Case 24-11118-TWD                      Doc 1      Filed 05/03/24              Ent. 05/03/24 15:44:58                    Pg. 2 of 53
Debtor    MJW Marketing, Inc.                                                                             Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                 Case 24-11118-TWD                            Doc 1      Filed 05/03/24             Ent. 05/03/24 15:44:58                  Pg. 3 of 53
Debtor   MJW Marketing, Inc.                                                          Case number (if known)
         Name

                               $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                               $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                               $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
                Case 24-11118-TWD            Doc 1       Filed 05/03/24         Ent. 05/03/24 15:44:58            Pg. 4 of 53
Debtor    MJW Marketing, Inc.                                                                      Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      May 3, 2024
                                                  MM / DD / YYYY


                             X /s/ Michael (Mick) Weed                                                    Michael (Mick) Weed
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President - MJW Marketing, Inc.




18. Signature of attorney    X /s/ Thomas D. Neeleman                                                      Date May 3, 2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Thomas D. Neeleman 33980
                                 Printed name

                                 Neeleman Law Group, P.C.
                                 Firm name

                                 1403 8th Street
                                 Marysville, WA 98270
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (425) 212-4800                Email address      courtmail@expresslaw.com

                                 33980 WA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
                 Case 24-11118-TWD                  Doc 1        Filed 05/03/24             Ent. 05/03/24 15:44:58                 Pg. 5 of 53
Fill in this information to identify the case:

Debtor name         MJW Marketing, Inc.

United States Bankruptcy Court for the:     WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       May 3, 2024                     X /s/ Michael (Mick) Weed
                                                           Signature of individual signing on behalf of debtor

                                                            Michael (Mick) Weed
                                                            Printed name

                                                            President - MJW Marketing, Inc.
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors




            Case 24-11118-TWD                    Doc 1         Filed 05/03/24            Ent. 05/03/24 15:44:58              Pg. 6 of 53
 Fill in this information to identify the case:
 Debtor name MJW Marketing, Inc.
 United States Bankruptcy Court for the: WESTERN DISTRICT OF                                                                                 Check if this is an
                                                WASHINGTON
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Capital One                                         Charges                                                                                                     $64,000.00
 Attn: Bankruptcy
 P.O. Box 30285
 Salt Lake City, UT
 84130
 Divvy Pay LLC dba                                   Credit Card                                                                                               $143,000.00
 Bill.com, LL
 6220 America
 Center Drive
 Suite 100
 Alviso, CA 95002
 Farris Wholesales                                   Purchases                                                                                                   $16,010.14
 220 Farris Drive
 Tuscumbia, AL
 35674
 Fine Home                                           Purchases                                                                                                   $29,225.70
 Unit 2, 13F Tower A
 New Mandrin Plaza,
 No 14
 Science Museum
 Rd.
 Kowloo Hong Kong
 Hansen Brothers                                     Purchases                                                                                                   $73,133.44
 10750 Aurora Ave
 North
 Seattle, WA 98133
 Jofran Collections                                  Purchases                                                                                                   $22,929.76
 CAB 4340 Fulton
 Ave, 3rd Floor
 Sherman Oaks, CA
 91423
 JP Morgan Chase                                     Charges                                                                                                     $90,000.00
 Bank
 P.O. Box 659409
 San Antonio, TX
 78217



Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1




                    Case 24-11118-TWD               Doc 1         Filed 05/03/24             Ent. 05/03/24 15:44:58                         Pg. 7 of 53
 Debtor    MJW Marketing, Inc.                                                                       Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Michael Weed                                        Loans                                                                                                     $191,600.00
 15441 170th Ave.,
 SE
 Monroe, WA 98272
 MJW Global                                          Loans                                                                                                     $125,904.00
 Corporation
 16761 146th Stret
 SE, Suite 189
 Monroe, WA 98272
 Mount Vernon Ctr.                                   Mount Vernon -                                                                                              $76,176.62
 Assoc., LLP                                         Lease arrears
 c/o Jeffrey H.
 Capeloto
 Anderson Hunter
 Law Firm, P.S.
 2707 Clby Ave.,
 Suite 1001
 Everett, WA 98201
 Regency Centers                                     Everett lease                                                                                             $186,200.00
 10900 NE 4th Street,                                arrearage
 Suite 223
 Bellevue, WA 98004
 Safe Glass                                                                                                                                                      $32,849.66

 Square Financial                                    Loan - Marysville         Disputed                                                                        $174,574.00
 Services, Inc
 3165 East Mill Rock
 Drive
 Suite 160
 Salt Lake City, UT
 84121
 Square Financial                                    Loan - Everett            Disputed                                                                        $110,622.00
 Services, Inc
 3165 East Mill Rock
 Drive
 Suite 160
 Salt Lake City, UT
 84121
 Square Financial                                    Loan - Mt. Vernon         Disputed                                                                        $228,423.00
 Services, Inc
 3165 East Mill Rock
 Drive
 Suite 160
 Salt Lake City, UT
 84121
 Square Financial                                    Loan - Monroe             Disputed                                                                        $203,678.00
 Services, Inc
 3165 East Mill Rock
 Drive
 Suite 160
 Salt Lake City, UT
 84121


Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2




                    Case 24-11118-TWD               Doc 1         Filed 05/03/24             Ent. 05/03/24 15:44:58                         Pg. 8 of 53
 Debtor    MJW Marketing, Inc.                                                                       Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Umpqua Bank                                         Personal Property                                     $300,000.00                        $0.00            $300,000.00
 111 N Wall
 Spokane, WA 99201
 Umpqua Bank                                         Personal Property                                     $191,412.98                        $0.00            $191,412.98
 111 N Wall
 Spokane, WA 99201
 Umpqua Bank                                         Personal Property                                      $25,000.00                        $0.00              $25,000.00
 111 N Wall
 Spokane, WA 99201
 Umpqua Bank                                         Personal Property                                     $603,006.81               $510,734.37                 $92,272.44
 111 N Wall
 Spokane, WA 99201




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3




                    Case 24-11118-TWD               Doc 1         Filed 05/03/24             Ent. 05/03/24 15:44:58                         Pg. 9 of 53
Fill in this information to identify the case:

Debtor name           MJW Marketing, Inc.

United States Bankruptcy Court for the:                      WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                                                                     Check if this is an
                                                                                                                                                                                     amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                     $           672,401.04

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                    $           672,401.04


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        1,141,419.79


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        1,977,310.85


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                           $           3,118,730.64




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                page 1




             Case 24-11118-TWD                                      Doc 1              Filed 05/03/24                         Ent. 05/03/24 15:44:58                             Pg. 10 of 53
Fill in this information to identify the case:

Debtor name         MJW Marketing, Inc.

United States Bankruptcy Court for the:     WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     Chase Bank                                        Checking                                                                      $11,326.67




          3.2.     Umpqua Bank                                       Checking                                                                       $5,049.88




          3.3.     Key Bank                                          Checking                                                                      $32,960.97



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                     $49,337.52
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.

7.        Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit



Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                                        page 1



            Case 24-11118-TWD                     Doc 1     Filed 05/03/24            Ent. 05/03/24 15:44:58                    Pg. 11 of 53
Debtor           MJW Marketing, Inc.                                                 Case number (If known)
                 Name




          7.1.     Regency Center - Security Deposit                                                                             $80,000.00




          7.2.     Mount Vernon Ctr. Assoc., LLP - Security Deposit                                                              $16,666.67




          7.3.     Crico LLC - Security Deposit                                                                                  $30,000.00




          7.4.     Marysville Plaza Assoc., LLP- Security Deposit -                                                              $10,000.00



8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
          Description, including name of holder of prepayment


9.        Total of Part 2.                                                                                                  $136,666.67
          Add lines 7 through 8. Copy the total to line 81.

Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.


Part 4:          Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

          General description                Date of the last        Net book value of      Valuation method used      Current value of
                                             physical inventory      debtor's interest      for current value          debtor's interest
                                                                     (Where available)

19.       Raw materials

20.       Work in progress

21.       Finished goods, including goods held for resale

22.       Other inventory or supplies
          Inventory                                                         $877,613.71     Liquidation                         $438,806.85



23.       Total of Part 5.                                                                                                  $438,806.85
          Add lines 19 through 22. Copy the total to line 84.

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                   page 2



           Case 24-11118-TWD                     Doc 1        Filed 05/03/24     Ent. 05/03/24 15:44:58             Pg. 12 of 53
Debtor       MJW Marketing, Inc.                                                            Case number (If known)
             Name

24.       Is any of the property listed in Part 5 perishable?
             No
             Yes

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                               Valuation method                             Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used      Current value of
                                                                         debtor's interest          for current value          debtor's interest
                                                                         (Where available)

39.       Office furniture
          Office Desks & Chairs                                                           $0.00     Liquidation                             $800.00



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          Computers, monitors, POS and printers.                                          $0.00     Liquidation                           $3,240.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                                $4,040.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                           page 3



           Case 24-11118-TWD                    Doc 1         Filed 05/03/24            Ent. 05/03/24 15:44:58              Pg. 13 of 53
Debtor        MJW Marketing, Inc.                                                          Case number (If known)
              Name

           General description                                          Net book value of          Valuation method used      Current value of
           Include year, make, model, and identification numbers        debtor's interest          for current value          debtor's interest
           (i.e., VIN, HIN, or N-number)                                (Where available)

47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.    2021 Toyota Tacoma                                                   $0.00     Liquidation                          $25,000.00



48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels
           48.1. Storage trailers.                                                   $0.00      Liquidation                              $4,000.00



49.        Aircraft and accessories


50.        Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Forklift, pallet jack & misc. warehouse
           equipment                                                                     $0.00     Liquidation                           $6,550.00


           Store & warehouse fixtures & equipment                                        $0.00     Liquidation                           $8,000.00



51.        Total of Part 8.                                                                                                         $43,550.00
           Add lines 47 through 50. Copy the total to line 87.

52.        Is a depreciation schedule available for any of the property listed in Part 8?
              No
              Yes

53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                          page 4



            Case 24-11118-TWD                    Doc 1       Filed 05/03/24            Ent. 05/03/24 15:44:58              Pg. 14 of 53
Debtor          MJW Marketing, Inc.                                                                                 Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                            $49,337.52

81. Deposits and prepayments. Copy line 9, Part 2.                                                               $136,666.67

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                             $438,806.85

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                            $4,040.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $43,550.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                            $672,401.04           + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $672,401.04




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 5



             Case 24-11118-TWD                               Doc 1            Filed 05/03/24                   Ent. 05/03/24 15:44:58                 Pg. 15 of 53
Fill in this information to identify the case:

Debtor name         MJW Marketing, Inc.

United States Bankruptcy Court for the:           WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   Bank of America                              Describe debtor's property that is subject to a lien                   $22,000.00                $25,000.00
      Creditor's Name                              2021 Toyota Tacoma
      PO Box 851001
      Dallas, TX 75285
      Creditor's mailing address                   Describe the lien
                                                   Purchase Money Security
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.2   Umpqua Bank                                  Describe debtor's property that is subject to a lien                 $191,412.98                       $0.00
      Creditor's Name                              Personal Property
      111 N Wall
      Spokane, WA 99201
      Creditor's mailing address                   Describe the lien
                                                   UCC-1
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      06/21                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      5759
      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply



Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 3




            Case 24-11118-TWD                         Doc 1          Filed 05/03/24                Ent. 05/03/24 15:44:58             Pg. 16 of 53
Debtor      MJW Marketing, Inc.                                                                    Case number (if known)
            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.3   Umpqua Bank                                 Describe debtor's property that is subject to a lien                      $603,006.81     $510,734.37
      Creditor's Name                             Personal Property
      111 N Wall
      Spokane, WA 99201
      Creditor's mailing address                  Describe the lien
                                                  UCC-1
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      06/21                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      5758
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.4   Umpqua Bank                                 Describe debtor's property that is subject to a lien                      $300,000.00             $0.00
      Creditor's Name                             Personal Property
      111 N Wall
      Spokane, WA 99201
      Creditor's mailing address                  Describe the lien
                                                  UCC-1
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      05/22                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      6058
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.5   Umpqua Bank                                 Describe debtor's property that is subject to a lien                       $25,000.00             $0.00
      Creditor's Name                             Personal Property
      111 N Wall
      Spokane, WA 99201
      Creditor's mailing address                  Describe the lien
                                                  UCC-1
                                                  Is the creditor an insider or related party?
                                                     No


Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 2 of 3




            Case 24-11118-TWD                        Doc 1          Filed 05/03/24                Ent. 05/03/24 15:44:58             Pg. 17 of 53
Debtor      MJW Marketing, Inc.                                                                    Case number (if known)
            Name

      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      05/23                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      5398
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



                                                                                                                            $1,141,419.7
3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                        9

Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
       SBA
       409 3rd St, SW                                                                                       Line   2.2
       Washington, DC 20416

       SBA
       Seattle District Office                                                                              Line   2.2
       2401 Fourth Ave, Suite 450
       Seattle, WA 98121

       SBA
       409 3rd St, SW                                                                                       Line   2.3
       Washington, DC 20416

       SBA
       Seattle District Office                                                                              Line   2.3
       2401 Fourth Ave, Suite 450
       Seattle, WA 98121

       SBA
       409 3rd St, SW                                                                                       Line   2.4
       Washington, DC 20416

       SBA
       Seattle District Office                                                                              Line   2.4
       2401 Fourth Ave, Suite 450
       Seattle, WA 98121

       SBA
       409 3rd St, SW                                                                                       Line   2.5
       Washington, DC 20416

       SBA
       Seattle District Office                                                                              Line   2.5
       2401 Fourth Ave, Suite 450
       Seattle, WA 98121




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 3 of 3




            Case 24-11118-TWD                        Doc 1          Filed 05/03/24                Ent. 05/03/24 15:44:58              Pg. 18 of 53
Fill in this information to identify the case:

Debtor name        MJW Marketing, Inc.

United States Bankruptcy Court for the:         WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                                    $0.00      $0.00
          Attorney General for WA State                       Check all that apply.
          Bankruptcy & Collections Unit                          Contingent
          800 Fifth Ave, 20th Floor                              Unliquidated
          Seattle, WA 98104                                      Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              Notice Only
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes


2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                                    $0.00      $0.00
          IRS                                                 Check all that apply.
          Centralized Insolvency                                 Contingent
          P.O. Box 7346                                          Unliquidated
          Philadelphia, PA 19101-7346                            Disputed

          Date or dates debt was incurred                     Basis for the claim:


          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 11
                                                                                                              28297



             Case 24-11118-TWD                       Doc 1         Filed 05/03/24                  Ent. 05/03/24 15:44:58                Pg. 19 of 53
Debtor       MJW Marketing, Inc.                                                                        Case number (if known)
             Name

2.3       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                    $0.00       $0.00
          United States Attorneys Office                       Check all that apply.
          Attn: Bankruptcy Assistant                              Contingent
          700 Stewart Street, Room 5220                           Unliquidated
          Seattle, WA 98101                                       Disputed

          Date or dates debt was incurred                      Basis for the claim:


          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.4       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                    $0.00       $0.00
          WA Employment Security Dept                          Check all that apply.
          PO Box 34949                                            Contingent
          Seattle, WA 98124-1949                                  Unliquidated
                                                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:


          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.5       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                    $0.00       $0.00
          WA State Dept of Revenue                             Check all that apply.
          9930 Evergreen Way Suite Y-150                          Contingent
          Everett, WA 98204-3893                                  Unliquidated
                                                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:


          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.6       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                    $0.00       $0.00
          WA State L&I                                         Check all that apply.
          PO Box 44000                                            Contingent
          Olympia, WA 98504                                       Unliquidated
                                                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:


          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim




Official Form 206 E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 2 of 11




             Case 24-11118-TWD                       Doc 1          Filed 05/03/24                  Ent. 05/03/24 15:44:58                  Pg. 20 of 53
Debtor      MJW Marketing, Inc.                                                             Case number (if known)
            Name

3.1      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $10,503.50
         Almost Nothing                                               Contingent
         1620 S. Los Angeles Street, #C                               Unliquidated
         Los Angeles, CA 90015                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Purchases
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.2      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $6,785.81
         American Cover Design                                        Contingent
         2131 E 52nd Street                                           Unliquidated
         Los Angeles, CA 90058                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Purchases
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $6,364.84
         Arkwright                                                    Contingent
         11350 Norcom Road                                            Unliquidated
         Philadelphia, PA 19154                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Purchases
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $4,942.14
         Ashley Furniture                                             Contingent
         One Ashley Way                                               Unliquidated
         Arcadia, WI 54612                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Purchases
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $64,000.00
         Capital One                                                  Contingent
         Attn: Bankruptcy                                             Unliquidated
         P.O. Box 30285                                               Disputed
         Salt Lake City, UT 84130
                                                                   Basis for the claim: Charges
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $703.62
         Cascade Natural Gas                                          Contingent
         P.O. Box 5600                                                Unliquidated
         Bismarck, ND 58506                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Natural Gas
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $641.98
         City of Marysville                                           Contingent
         P.O. Box 128                                                 Unliquidated
         Caldwell, ID 83606                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Garbage
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 3 of 11




            Case 24-11118-TWD                   Doc 1       Filed 05/03/24               Ent. 05/03/24 15:44:58                          Pg. 21 of 53
Debtor      MJW Marketing, Inc.                                                             Case number (if known)
            Name

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $578.87
         City of Mt. Vernon                                           Contingent
         910 Cleveland Ave.                                           Unliquidated
         Mount Vernon, WA 98273                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Garbage
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $11,968.24
         Coaster Furniture                                            Contingent
         12909 Sandoval St.                                           Unliquidated
         Santa Fe Springs, CA 90670                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Purchases
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $14,000.00
         DC Wholesales                                                Contingent
         3111 Bandini Blvd                                            Unliquidated
         Los Angeles, CA 90058                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Purchases
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $143,000.00
         Divvy Pay LLC dba Bill.com, LL                               Contingent
         6220 America Center Drive                                    Unliquidated
         Suite 100                                                    Disputed
         Alviso, CA 95002
                                                                   Basis for the claim: Credit Card
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $16,010.14
         Farris Wholesales                                            Contingent
         220 Farris Drive                                             Unliquidated
         Tuscumbia, AL 35674                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Purchases
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $29,225.70
         Fine Home
         Unit 2, 13F Tower A                                          Contingent
         New Mandrin Plaza, No 14                                     Unliquidated
         Science Museum Rd.                                           Disputed
         Kowloo Hong Kong
                                                                   Basis for the claim: Purchases
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $5,425.45
         H&J Liquidators                                              Contingent
         9201 King Street                                             Unliquidated
         Franklin Park, IL 60131                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Purchases
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 4 of 11




            Case 24-11118-TWD                   Doc 1       Filed 05/03/24               Ent. 05/03/24 15:44:58                          Pg. 22 of 53
Debtor      MJW Marketing, Inc.                                                             Case number (if known)
            Name

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $15,000.00
         Haddad United Collections
         Altus Receiv.                                                Contingent
         2400 Veterns Memorial Blvd                                   Unliquidated
         Suite 300                                                    Disputed
         Kenner, LA 70062
                                                                   Basis for the claim: Purchases
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $73,133.44
         Hansen Brothers                                              Contingent
         10750 Aurora Ave North                                       Unliquidated
         Seattle, WA 98133                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Purchases
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $1,173.50
         J. Michelle                                                  Contingent
         6015 Randolph Street                                         Unliquidated
         Los Angeles, CA 90040                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Purchases
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $22,929.76
         Jofran Collections                                           Contingent
         CAB 4340 Fulton Ave, 3rd Floor                               Unliquidated
         Sherman Oaks, CA 91423                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Purchases
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $90,000.00
         JP Morgan Chase Bank                                         Contingent
         P.O. Box 659409                                              Unliquidated
         San Antonio, TX 78217                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Charges
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $2,220.84
         Kole Imports                                                 Contingent
         24600 Main Street                                            Unliquidated
         Carson, CA 90745                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Purchases
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $11,084.69
         LA Closeout                                                  Contingent
         5526 South Soto Street                                       Unliquidated
         Los Angeles, CA 90058                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Purchases
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 5 of 11




            Case 24-11118-TWD                   Doc 1       Filed 05/03/24               Ent. 05/03/24 15:44:58                          Pg. 23 of 53
Debtor      MJW Marketing, Inc.                                                             Case number (if known)
            Name

3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $6,434.50
         Mazel                                                        Contingent
         31000 Aurora Rd                                              Unliquidated
         Solon, OH 44139                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Purchases
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $5,770.90
         Merchandise USA                                              Contingent
         1415 Redeker Rd                                              Unliquidated
         Des Plaines, IL 60016                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Purchases
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $191,600.00
         Michael Weed                                                 Contingent
         15441 170th Ave., SE                                         Unliquidated
         Monroe, WA 98272                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Loans
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $125,904.00
         MJW Global Corporation                                       Contingent
         16761 146th Stret SE, Suite 189                              Unliquidated
         Monroe, WA 98272                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Loans
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $3,400.00
         Mode Transport                                               Contingent
         PO BOX 654371                                                Unliquidated
         Dallas, TX 75265-4371                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Transport
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $76,176.62
         Mount Vernon Ctr. Assoc., LLP
         c/o Jeffrey H. Capeloto                                      Contingent
         Anderson Hunter Law Firm, P.S.                               Unliquidated
         2707 Clby Ave., Suite 1001                                   Disputed
         Everett, WA 98201
                                                                   Basis for the claim: Mount Vernon - Lease arrears
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $3,391.20
         New Crown                                                    Contingent
         4471 S. Santa Fe Ave                                         Unliquidated
         Los Angeles, CA 90058                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Purchases
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 6 of 11




            Case 24-11118-TWD                   Doc 1       Filed 05/03/24               Ent. 05/03/24 15:44:58                          Pg. 24 of 53
Debtor      MJW Marketing, Inc.                                                             Case number (if known)
            Name

3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $3,350.55
         OKK Trading                                                  Contingent
         2721 E 45th Street                                           Unliquidated
         Los Angeles, CA 90058                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Purchases
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $2,378.66
         Omaha Distributing                                           Contingent
         13737 Chandler Road                                          Unliquidated
         Omaha, NE 68138                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Purchases
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $2,214.90
         Opportunity Buying                                           Contingent
         2 Great Pasture Road                                         Unliquidated
         Omaha, NE 68138                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Purchases
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $5,400.95
         Pape Material Handling                                       Contingent
         PO BOX 35144, #5077                                          Unliquidated
         Seattle, WA 98124-5144                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $3,702.21
         Puget Sound Energy                                           Contingent
         PO Box 92169                                                 Unliquidated
         Bellevue, WA 98009-8269                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Services
         Last 4 digits of account number 0670,8990
                                                                   Is the claim subject to offset?     No       Yes

3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $3,006.66
         Raymond West                                                 Contingent
         6607 S 2857th Street, Suite D                                Unliquidated
         Auburn, WA 98001                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $186,200.00
         Regency Centers                                              Contingent
         10900 NE 4th Street, Suite 223                               Unliquidated
         Bellevue, WA 98004                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Everett lease arrearage
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 7 of 11




            Case 24-11118-TWD                   Doc 1       Filed 05/03/24               Ent. 05/03/24 15:44:58                          Pg. 25 of 53
Debtor      MJW Marketing, Inc.                                                             Case number (if known)
            Name

3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              Unknown
         Republic Services                                            Contingent
         1600 127th Ave., NE                                          Unliquidated
         Bellevue, WA 98005                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Waste
         Last 4 digits of account number 8716
                                                                   Is the claim subject to offset?     No       Yes

3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $32,849.66
         Safe Glass                                                   Contingent
                                                                      Unliquidated
         Date(s) debt was incurred                                    Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $12,873.00
         Sales Max                                                    Contingent
         9554 7th Street                                              Unliquidated
         Rancho Cucamonga, CA 91730                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Purchases
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $9,216.15
         Samara Vendrell Products                                     Contingent
         1081 David Road                                              Unliquidated
         Elgin, IL 60123                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Purchases
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $0.00
         SBA                                                          Contingent
         Seattle District Office                                      Unliquidated
         2401 Fourth Ave, Suite 450                                   Disputed
         Seattle, WA 98121
                                                                   Basis for the claim: Notice Only
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $1,718.45
         Sentry Industries                                            Contingent
         PO BOX 885                                                   Unliquidated
         One Bridge Street                                            Disputed
         Hillburn, NY 10931
                                                                   Basis for the claim: Purchases
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $1,546.11
         Snohomish County PUD                                         Contingent
         2320 California Street                                       Unliquidated
         Everett, WA 98201                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Services
         Last 4 digits of account number 0150,8465
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 8 of 11




            Case 24-11118-TWD                   Doc 1       Filed 05/03/24               Ent. 05/03/24 15:44:58                          Pg. 26 of 53
Debtor      MJW Marketing, Inc.                                                             Case number (if known)
            Name

3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $8,820.00
         Speedmark                                                    Contingent
         1921 Des Moines Memorial drive                               Unliquidated
         Seattle, WA 98148                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Purchases
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $110,622.00
         Square Financial Services, Inc                               Contingent
         3165 East Mill Rock Drive                                    Unliquidated
         Suite 160
                                                                      Disputed
         Salt Lake City, UT 84121
                                                                   Basis for the claim: Loan - Everett
         Date(s) debt was incurred 12/23
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $174,574.00
         Square Financial Services, Inc                               Contingent
         3165 East Mill Rock Drive                                    Unliquidated
         Suite 160
                                                                      Disputed
         Salt Lake City, UT 84121
                                                                   Basis for the claim: Loan - Marysville
         Date(s) debt was incurred 01/24
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $203,678.00
         Square Financial Services, Inc                               Contingent
         3165 East Mill Rock Drive                                    Unliquidated
         Suite 160
                                                                      Disputed
         Salt Lake City, UT 84121
                                                                   Basis for the claim: Loan - Monroe
         Date(s) debt was incurred 09/23
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.47     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $228,423.00
         Square Financial Services, Inc                               Contingent
         3165 East Mill Rock Drive                                    Unliquidated
         Suite 160
                                                                      Disputed
         Salt Lake City, UT 84121
                                                                   Basis for the claim: Loan - Mt. Vernon
         Date(s) debt was incurred 09/23
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.48     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $6,308.43
         St. Louis Wholesale                                          Contingent
         801 Texas Court                                              Unliquidated
         O Fallon, MO 63366                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Purchases
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.49     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $7,605.40
         Strategic Merchandise                                        Contingent
         1536 First Street                                            Unliquidated
         Newton Falls, OH 44444                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Purchases
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 9 of 11




            Case 24-11118-TWD                   Doc 1       Filed 05/03/24               Ent. 05/03/24 15:44:58                          Pg. 27 of 53
Debtor      MJW Marketing, Inc.                                                             Case number (if known)
            Name

3.50     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $4,078.19
         Treasure Hunt Group, LLC                                     Contingent
         1633 Kaiser Rd NW                                            Unliquidated
         Olympia, WA 98502                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Purchases
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.51     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $1,211.35
         UPD                                                          Contingent
         4507 S Maywood Ave                                           Unliquidated
         Los Angeles, CA 90058                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Purchases
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.52     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $4,737.79
         Value Merchandise                                            Contingent
         13100 12th Ave N, Suite C                                    Unliquidated
         Minneapolis, MN 55441                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Purchases
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.53     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $5,958.00
         Volume Brands                                                Contingent
         4199 Bandini Blvd                                            Unliquidated
         Los Angeles, CA 90040                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Purchases
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.54     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $1,170.52
         Waste Management                                             Contingent
         P.O. Box 79168                                               Unliquidated
         Phoenix, AZ 85062                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Waste
         Last 4 digits of account number 3009
                                                                   Is the claim subject to offset?     No       Yes

3.55     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $2,014.24
         West Coast Imports                                           Contingent
         6000 Bandini Blvd                                            Unliquidated
         Los Angeles, CA 90040                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Purchases
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.56     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $2,014.24
         West Coast Imports                                           Contingent
         6000 Bandini Blvd.                                           Unliquidated
         Los Angeles, CA 90040                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Purchases
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 10 of 11




            Case 24-11118-TWD                   Doc 1       Filed 05/03/24               Ent. 05/03/24 15:44:58                          Pg. 28 of 53
Debtor       MJW Marketing, Inc.                                                                    Case number (if known)
             Name

3.57      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $9,268.65
          X-S Merchandise                                                      Contingent
          700 Granger Road                                                     Unliquidated
          Independence, OH 44131                                               Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Purchases
          Last 4 digits of account number
                                                                           Is the claim subject to offset?       No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                    related creditor (if any) listed?                account number, if
                                                                                                                                                     any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
5a. Total claims from Part 1                                                                           5a.        $                             0.00
5b. Total claims from Part 2                                                                           5b.   +    $                     1,977,310.85

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.        $                        1,977,310.85




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 11 of 11




            Case 24-11118-TWD                        Doc 1         Filed 05/03/24                Ent. 05/03/24 15:44:58                          Pg. 29 of 53
Fill in this information to identify the case:

Debtor name       MJW Marketing, Inc.

United States Bankruptcy Court for the:     WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Monroe store location
           lease is for and the nature of        lease
           the debtor's interest

               State the term remaining          43 Months                          Crico LLC
                                                                                    c/o Daniel Howard
           List the contract number of any                                          P.O. Box 1209
                 government contract                                                Monroe, WA 98272


2.2.       State what the contract or            Marysville store
           lease is for and the nature of        location lease
           the debtor's interest
                                                                                    Marysville Plaza Assoc., LLP
               State the term remaining          27 Months                          c/o Jeffrey H. Capeloto
                                                                                    Anderson Hunter Law Firm, P.S.
           List the contract number of any                                          2707 Clby Ave., Suite 1001
                 government contract                                                Everett, WA 98201


2.3.       State what the contract or            Mount Vernon store
           lease is for and the nature of        location lease
           the debtor's interest
                                                                                    Mount Vernon Ctr. Assoc., LLP
               State the term remaining          27 Months                          c/o Jeffrey H. Capeloto
                                                                                    Anderson Hunter Law Firm, P.S.
           List the contract number of any                                          2707 Clby Ave., Suite 1001
                 government contract                                                Everett, WA 98201


2.4.       State what the contract or            Vacated Premises
           lease is for and the nature of
           the debtor's interest

               State the term remaining
                                                                                    Regency Centers
           List the contract number of any                                          10900 NE 4th Street, Suite 223
                 government contract                                                Bellevue, WA 98004




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1




           Case 24-11118-TWD                     Doc 1        Filed 05/03/24            Ent. 05/03/24 15:44:58                  Pg. 30 of 53
Fill in this information to identify the case:

Debtor name      MJW Marketing, Inc.

United States Bankruptcy Court for the:   WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Michael Weed                                                                          Bank of America                    D   2.1
                                                                                                                                   E/F
                                                                                                                                   G




   2.2    Michael Weed                15441 170th Ave., SE                                      Umpqua Bank                        D   2.2
                                      Monroe, WA 98272                                                                             E/F
                                                                                                                                   G




   2.3    Michael Weed                15441 170th Ave., SE                                      Umpqua Bank                        D   2.5
                                      Monroe, WA 98272                                                                             E/F
                                                                                                                                   G




   2.4    Michael Weed                15441 170th Ave., SE                                      Umpqua Bank                        D   2.3
                                      Monroe, WA 98272                                                                             E/F
                                                                                                                                   G




   2.5    Michael Weed                15441 170th Ave., SE                                      Umpqua Bank                        D   2.4
                                      Monroe, WA 98272                                                                             E/F
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 2



          Case 24-11118-TWD                      Doc 1     Filed 05/03/24           Ent. 05/03/24 15:44:58                 Pg. 31 of 53
Debtor    MJW Marketing, Inc.                                                     Case number (if known)


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor




Official Form 206H                                              Schedule H: Your Codebtors                                Page 2 of 2



          Case 24-11118-TWD               Doc 1       Filed 05/03/24         Ent. 05/03/24 15:44:58            Pg. 32 of 53
Fill in this information to identify the case:

Debtor name         MJW Marketing, Inc.

United States Bankruptcy Court for the:    WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                               $619,013.00
      From 1/01/2024 to Filing Date
                                                                                          Other    Sales


      For prior year:                                                                     Operating a business                             $5,713,018.00
      From 1/01/2023 to 12/31/2023
                                                                                          Other    Sales


      For year before that:                                                               Operating a business                             $6,360,464.00
      From 1/01/2022 to 12/31/2022
                                                                                          Other    Sales

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1




            Case 24-11118-TWD                    Doc 1       Filed 05/03/24             Ent. 05/03/24 15:44:58                 Pg. 33 of 53
Debtor       MJW Marketing, Inc.                                                         Case number (if known)



      Creditor's Name and Address                           Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                Check all that apply
      3.1.
             Salvage Traders                                02/16/24,                        $10,000.00           Secured debt
                                                            2/27/24                                               Unsecured loan repayments
                                                                                                                  Suppliers or vendors
                                                                                                                  Services
                                                                                                                  Other


      3.2.
             Watco Supply Chain                             02/16/24,                          $8,716.15          Secured debt
                                                            03/06/24                                              Unsecured loan repayments
                                                                                                                  Suppliers or vendors
                                                                                                                  Services
                                                                                                                  Other


      3.3.
             Moss Adams                                     04/15/24                         $18,315.48           Secured debt
             2707 Colby Ave #801                                                                                  Unsecured loan repayments
             Everett, WA 98201                                                                                    Suppliers or vendors
                                                                                                                  Services
                                                                                                                  Other


      3.4.
             Capital One                                    02/05/24,                        $92,600.00           Secured debt
                                                            02/11/24,                                             Unsecured loan repayments
                                                            02/13/24,
                                                                                                                  Suppliers or vendors
                                                            02/16/24,
                                                                                                                  Services
                                                            02/27/24,
                                                            03/24/24,                                             Other
                                                            03/06/24,
                                                            03/19/24,
                                                            03/20/24,
                                                            04/01/24,
                                                            04/11/24,
                                                            04/16/24,
                                                            04/23/24,
                                                            04/24/24
      3.5.
             JP Morgan Chase Bank                           01/28/24,                        $34,170.00           Secured debt
             P.O. Box 659409                                01/29/24,                                             Unsecured loan repayments
             San Antonio, TX 78217                          02/05/24,
                                                                                                                  Suppliers or vendors
                                                            02/14/24,
                                                                                                                  Services
                                                            02/15/24,
                                                            02/16/24,                                             Other
                                                            02/18/24,
                                                            02/19/24,
                                                            02/17/24,
                                                            03/05/24,
                                                            03/14/24,
                                                            03/20/24,
                                                            03/25/24,
                                                            03/27/24,
                                                            04/05/24,
                                                            04/08/24,
                                                            04/11/24,
                                                            04/16/24




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 2




             Case 24-11118-TWD           Doc 1         Filed 05/03/24             Ent. 05/03/24 15:44:58                 Pg. 34 of 53
Debtor       MJW Marketing, Inc.                                                                Case number (if known)



      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.6.
             Umpqua Bank                                           01/30/24,                        $11,120.46                Secured debt
             111 N Wall                                            01/30/24,                                                  Unsecured loan repayments
             Spokane, WA 99201                                     02/05/24,
                                                                                                                              Suppliers or vendors
                                                                   03/05/24,
                                                                                                                              Services
                                                                   04/05/24
                                                                                                                              Other


      3.7.
             Square Financial Services, Inc                        Various                          $23,680.50                Secured debt
             3165 East Mill Rock Drive                                                                                        Unsecured loan repayments
             Suite 160
                                                                                                                              Suppliers or vendors
             Salt Lake City, UT 84121
                                                                                                                              Services
                                                                                                                              Other


      3.8.
             Square Financial Services, Inc                        Various                          $29,657.45                Secured debt
             3165 East Mill Rock Drive                                                                                        Unsecured loan repayments
             Suite 160
                                                                                                                              Suppliers or vendors
             Salt Lake City, UT 84121
                                                                                                                              Services
                                                                                                                              Other


      3.9.
             Square Financial Services, Inc                        Various                          $29,364.71                Secured debt
             3165 East Mill Rock Drive                                                                                        Unsecured loan repayments
             Suite 160
                                                                                                                              Suppliers or vendors
             Salt Lake City, UT 84121
                                                                                                                              Services
                                                                                                                              Other


      3.10
      .
           Mount Vernon Ctr. Assoc., LLP                           04/24                            $14,586.90                Secured debt
             c/o Jeffrey H. Capeloto                                                                                          Unsecured loan repayments
             Anderson Hunter Law Firm, P.S.                                                                                   Suppliers or vendors
             2707 Clby Ave., Suite 1001                                                                                       Services
             Everett, WA 98201
                                                                                                                              Other Lease Payment



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

         None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.1.   Michael Weed                                          04/29/23 -                      $207,076.90           Wages
                                                                   04/29/24
             Owner/Manager

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

         None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property



Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 3




             Case 24-11118-TWD                   Doc 1        Filed 05/03/24             Ent. 05/03/24 15:44:58                     Pg. 35 of 53
Debtor      MJW Marketing, Inc.                                                                   Case number (if known)



6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:     Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                Nature of case               Court or agency's name and               Status of case
             Case number                                                            address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:     Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

             Recipient's name and address              Description of the gifts or contributions                  Dates given                            Value


Part 5:     Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and             Amount of payments received for the loss                   Dates of loss            Value of property
      how the loss occurred                                                                                                                             lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:     Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 4




            Case 24-11118-TWD                    Doc 1        Filed 05/03/24              Ent. 05/03/24 15:44:58                  Pg. 36 of 53
Debtor        MJW Marketing, Inc.                                                                Case number (if known)



                Who was paid or who received              If not money, describe any property transferred               Dates               Total amount or
                the transfer?                                                                                                                        value
                Address
      11.1.                                               Pre-petition attorney fees: $6,000.00
                Neeleman Law Group, P.C.                  Filing Fee: $1,738.00
                1403 8th Street                           Funds held in trust for post-petition fees:
                Marysville, WA 98270                      $19,000.00                                                    04/26/24                 $26,738.00

                Email or website address
                courtmail@expresslaw.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                             Describe any property transferred                    Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

              Who received transfer?                   Description of property transferred or                     Date transfer             Total amount or
              Address                                  payments received or debts paid in exchange                was made                           value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

                Address                                                                                             Dates of occupancy
                                                                                                                    From-To

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


                Facility name and address              Nature of the business operation, including type of services                If debtor provides meals
                                                       the debtor provides                                                         and housing, number of
                                                                                                                                   patients in debtor’s care

Part 9:       Personally Identifiable Information




Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 5




              Case 24-11118-TWD                  Doc 1         Filed 05/03/24             Ent. 05/03/24 15:44:58                   Pg. 37 of 53
Debtor      MJW Marketing, Inc.                                                                  Case number (if known)



16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

         None
             Financial Institution name and             Last 4 digits of           Type of account or          Date account was                  Last balance
             Address                                    account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.
Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 6




            Case 24-11118-TWD                     Doc 1        Filed 05/03/24             Ent. 05/03/24 15:44:58                  Pg. 38 of 53
Debtor      MJW Marketing, Inc.                                                                 Case number (if known)




Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
            None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Tan Le                                                                                                             06/21 - Current
                    Moss Adams
                    2707 Colby Ave.
                    Everett, WA 98201

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 7




            Case 24-11118-TWD                    Doc 1        Filed 05/03/24             Ent. 05/03/24 15:44:58                    Pg. 39 of 53
Debtor      MJW Marketing, Inc.                                                                  Case number (if known)



          statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

             Name of the person who supervised the taking of the                     Date of inventory        The dollar amount and basis (cost, market,
             inventory                                                                                        or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                              Position and nature of any            % of interest, if
                                                                                                   interest                              any
      MJW Global Corporation                  16761 146th Stret SE, Suite 189                      Shareholder                           90%


      Name                                    Address                                              Position and nature of any            % of interest, if
                                                                                                   interest                              any
      Stephen Hopkins                         621 North Waugh Road                                 Shareholder                           10%
                                              Mount Vernon, WA 98273

      Name                                    Address                                              Position and nature of any            % of interest, if
                                                                                                   interest                              any
      Michael Weed                            15441 170th Ave., SE                                 Michael Weed is 100%                  MJW Global
                                              Monroe, WA 98272                                     Shareholder in MJW Global             Corporation
                                                                                                   Corporation and manages the           owns 90% of
                                                                                                   Debtor                                the Debtor


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient              Amount of money or description and value of               Dates              Reason for
                                                        property                                                                     providing the value
      30.1 Michael Weed                                                                                           04/29/23 -
      .                                                 $207,076.90                                               04/29/24           Wages

             Relationship to debtor
             Owner/Manager


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 8




            Case 24-11118-TWD                     Doc 1        Filed 05/03/24             Ent. 05/03/24 15:44:58                Pg. 40 of 53
Debtor      MJW Marketing, Inc.                                                             Case number (if known)




   Name of the parent corporation                                                                  Employer Identification number of the parent
                                                                                                   corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                        Employer Identification number of the pension
                                                                                                   fund




Official Form 207                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 9




            Case 24-11118-TWD               Doc 1         Filed 05/03/24             Ent. 05/03/24 15:44:58               Pg. 41 of 53
Debtor      MJW Marketing, Inc.                                                                 Case number (if known)




Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         May 3, 2024

/s/ Michael (Mick) Weed                                         Michael (Mick) Weed
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   President - MJW Marketing, Inc.

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 10




            Case 24-11118-TWD                    Doc 1        Filed 05/03/24             Ent. 05/03/24 15:44:58             Pg. 42 of 53
B2030 (Form 2030) (12/15)
                                                         United States Bankruptcy Court
                                                              Western District of Washington
 In re       MJW Marketing, Inc.                                                                              Case No.
                                                                              Debtor(s)                       Chapter       11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $        To Be Determined
             Prior to the filing of this statement I have received                                        $                   6,000.00
             Balance Due                                                                                  $        To Be Determined

2.    $     1,738.00       of the filing fee has been paid.

3.    The source of the compensation paid to me was:
                  Debtor              Other (specify):

4.    The source of compensation to be paid to me is:
                  Debtor              Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d. [Other provisions as needed]
              General Chapter 11 client representation; Negotiations with secured creditors to reduce to market value;
              applications as needed; General prosecution of confirmation of Chapter 11 Plan;

7.    By agreement with the debtor(s), the above-disclosed fee does not include the following service: n/a

                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     5/3/24                                                                   /s/ Thomas Neeleman
     Date                                                                     Thomas D. Neeleman 33980
                                                                              Signature of Attorney
                                                                              Neeleman Law Group, P.C.
                                                                              1403 8th Street
                                                                              Marysville, WA 98270
                                                                              (425) 212-4800 Fax: (425) 212-4802
                                                                              courtmail@expresslaw.com
                                                                              Name of law firm




              Case 24-11118-TWD                    Doc 1        Filed 05/03/24            Ent. 05/03/24 15:44:58                 Pg. 43 of 53
                                                      United States Bankruptcy Court
                                                           Western District of Washington
 In re    MJW Marketing, Inc.                                                                                     Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
MJW Global Corporation                                      Common                                                           Shareholder
16761 146th Stret SE, Suite 189
Monroe, WA 98272


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President - MJW Marketing, Inc. of the corporation named as the debtor in this case, declare under penalty of
perjury that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my
information and belief.



Date May 3, 2024                                                         Signature /s/ Michael (Mick) Weed
                                                                                        Michael (Mick) Weed

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders




           Case 24-11118-TWD                     Doc 1         Filed 05/03/24               Ent. 05/03/24 15:44:58                    Pg. 44 of 53
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                        ALMOST NOTHING
                        1620 S. LOS ANGELES STREET, #C
                        LOS ANGELES, CA 90015


                        AMERICAN COVER DESIGN
                        2131 E 52ND STREET
                        LOS ANGELES, CA 90058


                        ARKWRIGHT
                        11350 NORCOM ROAD
                        PHILADELPHIA, PA 19154


                        ASHLEY FURNITURE
                        ONE ASHLEY WAY
                        ARCADIA, WI 54612


                        ATTORNEY GENERAL FOR WA STATE
                        BANKRUPTCY & COLLECTIONS UNIT
                        800 FIFTH AVE, 20TH FLOOR
                        SEATTLE, WA 98104


                        BANK OF AMERICA
                        PO BOX 851001
                        DALLAS, TX 75285


                        CAPITAL ONE
                        ATTN: BANKRUPTCY
                        P.O. BOX 30285
                        SALT LAKE CITY, UT 84130


                        CASCADE NATURAL GAS
                        P.O. BOX 5600
                        BISMARCK, ND 58506


                        CITY OF MARYSVILLE
                        P.O. BOX 128
                        CALDWELL, ID 83606


                        CITY OF MT. VERNON
                        910 CLEVELAND AVE.
                        MOUNT VERNON, WA 98273


                        COASTER FURNITURE
                        12909 SANDOVAL ST.
                        SANTA FE SPRINGS, CA 90670


    Case 24-11118-TWD   Doc 1   Filed 05/03/24   Ent. 05/03/24 15:44:58   Pg. 45 of 53
                    CRICO LLC
                    C/O DANIEL HOWARD
                    P.O. BOX 1209
                    MONROE, WA 98272


                    DC WHOLESALES
                    3111 BANDINI BLVD
                    LOS ANGELES, CA 90058


                    DIVVY PAY LLC DBA BILL.COM, LL
                    6220 AMERICA CENTER DRIVE
                    SUITE 100
                    ALVISO, CA 95002


                    FARRIS WHOLESALES
                    220 FARRIS DRIVE
                    TUSCUMBIA, AL 35674


                    FINE HOME
                    UNIT 2, 13F TOWER A
                    NEW MANDRIN PLAZA, NO 14
                    SCIENCE MUSEUM RD.
                    KOWLOO HONG KONG


                    H&J LIQUIDATORS
                    9201 KING STREET
                    FRANKLIN PARK, IL 60131


                    HADDAD UNITED COLLECTIONS
                    ALTUS RECEIV.
                    2400 VETERNS MEMORIAL BLVD
                    SUITE 300
                    KENNER, LA 70062


                    HANSEN BROTHERS
                    10750 AURORA AVE NORTH
                    SEATTLE, WA 98133


                    IRS
                    CENTRALIZED INSOLVENCY
                    P.O. BOX 7346
                    PHILADELPHIA, PA 19101-7346


                    J. MICHELLE
                    6015 RANDOLPH STREET
                    LOS ANGELES, CA 90040


Case 24-11118-TWD   Doc 1   Filed 05/03/24   Ent. 05/03/24 15:44:58   Pg. 46 of 53
                    JOFRAN COLLECTIONS
                    CAB 4340 FULTON AVE, 3RD FLOOR
                    SHERMAN OAKS, CA 91423


                    JP MORGAN CHASE BANK
                    P.O. BOX 659409
                    SAN ANTONIO, TX 78217


                    KOLE IMPORTS
                    24600 MAIN STREET
                    CARSON, CA 90745


                    LA CLOSEOUT
                    5526 SOUTH SOTO STREET
                    LOS ANGELES, CA 90058


                    MARYSVILLE PLAZA ASSOC., LLP
                    C/O JEFFREY H. CAPELOTO
                    ANDERSON HUNTER LAW FIRM, P.S.
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                    EVERETT, WA 98201


                    MAZEL
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                    SOLON, OH 44139


                    MERCHANDISE USA
                    1415 REDEKER RD
                    DES PLAINES, IL 60016


                    MICHAEL WEED
                    15441 170TH AVE., SE
                    MONROE, WA 98272


                    MICHAEL WEED



                    MJW GLOBAL CORPORATION
                    16761 146TH STRET SE, SUITE 189
                    MONROE, WA 98272


                    MODE TRANSPORT
                    PO BOX 654371
                    DALLAS, TX 75265-4371



Case 24-11118-TWD   Doc 1   Filed 05/03/24   Ent. 05/03/24 15:44:58   Pg. 47 of 53
                    MOUNT VERNON CTR. ASSOC., LLP
                    C/O JEFFREY H. CAPELOTO
                    ANDERSON HUNTER LAW FIRM, P.S.
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                    EVERETT, WA 98201


                    NEW CROWN
                    4471 S. SANTA FE AVE
                    LOS ANGELES, CA 90058


                    OKK TRADING
                    2721 E 45TH STREET
                    LOS ANGELES, CA 90058


                    OMAHA DISTRIBUTING
                    13737 CHANDLER ROAD
                    OMAHA, NE 68138


                    OPPORTUNITY BUYING
                    2 GREAT PASTURE ROAD
                    OMAHA, NE 68138


                    PAPE MATERIAL HANDLING
                    PO BOX 35144, #5077
                    SEATTLE, WA 98124-5144


                    PUGET SOUND ENERGY
                    PO BOX 92169
                    BELLEVUE, WA 98009-8269


                    RAYMOND WEST
                    6607 S 2857TH STREET, SUITE D
                    AUBURN, WA 98001


                    REGENCY CENTERS
                    10900 NE 4TH STREET, SUITE 223
                    BELLEVUE, WA 98004


                    REPUBLIC SERVICES
                    1600 127TH AVE., NE
                    BELLEVUE, WA 98005


                    SAFE GLASS




Case 24-11118-TWD   Doc 1   Filed 05/03/24   Ent. 05/03/24 15:44:58   Pg. 48 of 53
                    SALES MAX
                    9554 7TH STREET
                    RANCHO CUCAMONGA, CA 91730


                    SAMARA VENDRELL PRODUCTS
                    1081 DAVID ROAD
                    ELGIN, IL 60123


                    SBA
                    SEATTLE DISTRICT OFFICE
                    2401 FOURTH AVE, SUITE 450
                    SEATTLE, WA 98121


                    SBA
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                    WASHINGTON, DC 20416


                    SENTRY INDUSTRIES
                    PO BOX 885
                    ONE BRIDGE STREET
                    HILLBURN, NY 10931


                    SNOHOMISH COUNTY PUD
                    2320 CALIFORNIA STREET
                    EVERETT, WA 98201


                    SPEEDMARK
                    1921 DES MOINES MEMORIAL DRIVE
                    SEATTLE, WA 98148


                    SQUARE FINANCIAL SERVICES, INC
                    3165 EAST MILL ROCK DRIVE
                    SUITE 160
                    SALT LAKE CITY, UT 84121


                    ST. LOUIS WHOLESALE
                    801 TEXAS COURT
                    O FALLON, MO 63366


                    STRATEGIC MERCHANDISE
                    1536 FIRST STREET
                    NEWTON FALLS, OH 44444




Case 24-11118-TWD   Doc 1   Filed 05/03/24   Ent. 05/03/24 15:44:58   Pg. 49 of 53
                    TREASURE HUNT GROUP, LLC
                    1633 KAISER RD NW
                    OLYMPIA, WA 98502


                    UMPQUA BANK
                    111 N WALL
                    SPOKANE, WA 99201


                    UNITED STATES ATTORNEYS OFFICE
                    ATTN: BANKRUPTCY ASSISTANT
                    700 STEWART STREET, ROOM 5220
                    SEATTLE, WA 98101


                    UPD
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                    LOS ANGELES, CA 90058


                    VALUE MERCHANDISE
                    13100 12TH AVE N, SUITE C
                    MINNEAPOLIS, MN 55441


                    VOLUME BRANDS
                    4199 BANDINI BLVD
                    LOS ANGELES, CA 90040


                    WA EMPLOYMENT SECURITY DEPT
                    PO BOX 34949
                    SEATTLE, WA 98124-1949


                    WA STATE DEPT OF REVENUE
                    9930 EVERGREEN WAY SUITE Y-150
                    EVERETT, WA 98204-3893


                    WA STATE L&I
                    PO BOX 44000
                    OLYMPIA, WA 98504


                    WASTE MANAGEMENT
                    P.O. BOX 79168
                    PHOENIX, AZ 85062


                    WEST COAST IMPORTS
                    6000 BANDINI BLVD
                    LOS ANGELES, CA 90040



Case 24-11118-TWD   Doc 1   Filed 05/03/24   Ent. 05/03/24 15:44:58   Pg. 50 of 53
                    WEST COAST IMPORTS
                    6000 BANDINI BLVD.
                    LOS ANGELES, CA 90040


                    X-S MERCHANDISE
                    700 GRANGER ROAD
                    INDEPENDENCE, OH 44131




Case 24-11118-TWD   Doc 1   Filed 05/03/24   Ent. 05/03/24 15:44:58   Pg. 51 of 53
                                              United States Bankruptcy Court
                                                  Western District of Washington
 In re   MJW Marketing, Inc.                                                                   Case No.
                                                                   Debtor(s)                   Chapter      11




                                  VERIFICATION OF CREDITOR MATRIX


I, the President - MJW Marketing, Inc. of the corporation named as the debtor in this case, hereby verify that the attached list of

creditors is true and correct to the best of my knowledge.




Date:    May 3, 2024                                    /s/ Michael (Mick) Weed
                                                        Michael (Mick) Weed/President - MJW Marketing, Inc.
                                                        Signer/Title




          Case 24-11118-TWD               Doc 1       Filed 05/03/24           Ent. 05/03/24 15:44:58            Pg. 52 of 53
                                        United States Bankruptcy Court
                                            Western District of Washington
 In re   MJW Marketing, Inc.                                                        Case No.
                                                           Debtor(s)                Chapter     11




                               CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for MJW Marketing, Inc. in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




May 3, 2024                                    /s/ Thomas D. Neeleman
Date                                           Thomas D. Neeleman 33980
                                               Signature of Attorney or Litigant
                                               Counsel for MJW Marketing, Inc.
                                               Neeleman Law Group, P.C.
                                               1403 8th Street
                                               Marysville, WA 98270
                                               (425) 212-4800 Fax:(425) 212-4802
                                               courtmail@expresslaw.com




         Case 24-11118-TWD           Doc 1     Filed 05/03/24          Ent. 05/03/24 15:44:58        Pg. 53 of 53
